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                       IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF UTAH

  BRIDGER LEE JENSEN, an individual;
  SINGULARISM, a non-profit corporation;
  PSYCHE HEALING AND BRIDGING,                      ORDER GRANTING MOTION FOR
  LLC dba PSYCHEDELIC THERAPY                      TEMPORARY RESTRAINING ORDER
  JOURNEY; a limited liability company;             AND PRELIMINARY INJUNCTION

                Plaintiffs,                               Civil No. 2:24-cv-00887-JNP
  vs.
                                                               Judge Jill N. Parrish
  UTAH COUNTY, a political subdivision,
  PROVO CITY, a political subdivision;               (Removed from Fourth Judicial District
  JEFFREY GRAY, an individual; TROY                Court, Utah County, State of Utah, Case No.
  BEEBE, an individual; BRIAN WOLKEN,                             240406123)
  an individual; JACKSON JULIAN, an
  individual; JOHN DOES 1-4, individuals;


                Defendants.


        Before the Court is Plaintiffs Bridger Lee Jensen, Singularism, and Psyche Healing and

 Bridging LLC dba Psychedelic Therapy Journey’s (collectively “Plaintiffs”) motion for the entry

 of a temporary restraining order and preliminary injunction (the “Motion”). Defendants have

 received notice of the Motion. Based on the Motion, the exhibits and evidence appended thereto,

 the parties’ briefing, and evidence and oral argument received at the hearing on the Motion, for
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 good cause appearing on the record, the Court hereby GRANTS the Motion and enters the

 following findings of fact:

                                                  FINDINGS

        1.      Singularism is a small minority faith located in Provo, Utah that was founded by

 Plaintiff Bridger Lee Jensen.

        2.      Singularism has openly and publicly operated its religious community since

 November 2023.

        3.      Singularism has operated peacefully and without any private or public incident or

 complaint related to it or any of its members since it opened the doors of its center.
       4.       On November 11, 2024, law enforcement from Provo City Police Department

 presented at Singularism’s spiritual center with a warrant to search the premises and seize certain

 items. During this search, the officers seized Singularism’s sacramental psilocybin and their sacred

 scripture. In total, law enforcement removed psilocybin, a black grinder, a black scale, and a

 gold scale used in preparing Singularism’s sacramental psilocybin tea, THC, and “Bridging Model.

        5.      At the end of the encounter, Detective Julian told Mr. Jensen that he recommended

 Singularism cease all its religious practices.

        6.      The next day, on November 12, 2024, Defendants Wolken served Singularism’s

 landlord with a letter, threatening that if he did not evict Singularism from their rented space, that

 law enforcement would pursue the landlord for civil abatement and forfeiture.

        7.      As a result of Defendants’ actions, Mr. Jensen was detained and Plaintiffs have

 been deprived of the possession and usage of their sacramental psilocybin, have been deprived of

 precious records regarding Singularism’s voyagers, have been placed under threat of eviction, have

 been placed under threat of criminal prosecution and forfeiture, have had their livelihoods


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 threatened, and have endured substantial emotional and mental distress. It is anticipated that the

 continued course of Defendants’ conduct will only deepen the present and future harms to

 Plaintiffs’ statutory and constitutional religious rights. For example, Plaintiffs expect that

 Singularism’s religious community will be irreparably diminished, voyagers will no longer feel

 safe participating in a Singularism ceremony, and Psyche Bridging and Healing, as a result, will

 sustain substantial financial losses to the point of closure.

        8.       Defendants’ actions have caused injury to the Plaintiffs that greatly outweighs any

 potential damage to the Defendants.




        Each Defendant is hereby RESTRAINED and ENJOINED until further order from the

 Court as follows:

        1. Defendants are prohibited from taking any action to formally or informally limit

             Plaintiffs’ free exercise of religion.

        2. Defendants are prohibited from prosecuting Plaintiffs’ sincere free exercise of religion,

             threatening Singularism’s eviction, or otherwise acting to interfere with Plaintiffs’

             sincere free exercise of religion regarding their religious entheogenic ceremonies.

        Each Defendant is hereby ORDERED as follows:

        1. Defendants are ordered to return all items they seized during their November 11, 2024

             search within 14 days of this order.




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                                CERTIFICATE OF SERVICE


        I hereby certify that on the 4th day of December 2024, a true and correct copy of the

 foregoing proposed order was served via the Court’s electronic filing service and by email on the

 following:

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                                             /s/ Tanner J. Bean




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